                                                    IN THE NORTHERN DISTRICT OF OHIO
                                                       EASTERN DIVISION (CLEVELAND)

                         Shane J. Hardymon,                         :
                                                                    :
                                       Plaintiff,                   :
                                                                    :      Case No. 1:22-cv-00724-SO
                                vs.                                 :
                                                                    :      Judge Solomon Oliver Jr.
                         Sheriff Scott M. Kent, et al.,             :
                                                                    :
                                       Defendants.                  :


                                      ANSWER ON BEHALF OF DEFENDANT BRIAN R. WILLIAMS,
                                        M.D. TO PLAINTIFF’S SECOND AMENDED COMPLAINT

                                Brian R. Williams, M.D., by and through counsel, for his Answer to Plaintiff’s

                         Second Amended Complaint, states as follows:

                                                             FIRST DEFENSE

                                1.     Admits that Defendant Brian R. Williams, M.D. is a physician licensed to

                         practice medicine in the State of Ohio and who provides competent radiology services.

                         This Defendant denies the remaining allegations contained in paragraph 13 of Plaintiff’s

                         Second Amended Complaint.

                                2.     Denies the allegations contained in paragraphs 1-3, 5-10, 12, 14-20,

                         68-75, 77-80, 82-90 and 93 of Plaintiff’s Second Amended Complaint for want of
LAW OFFICES OF
______________________   knowledge sufficient to form a belief as to the truth thereof and/or such allegations are
ARNOLD TODARO
WELCH & FOLIANO
______________________   not directed at all to this Defendant.
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                                3.     Denies the factual allegations contained in paragraphs 22-54 and 56-66

                         of Plaintiff’s Second Amended Complaint for want of knowledge sufficient to form a belief

                         as to the truth thereof and/or such allegations are not directed to this Defendant.

                                4.     Denies each and every allegation contained in paragraphs 11, 55, 92 and

                         94-100 of Plaintiff’s Second Amended Complaint.

                                5.     Admits/denies the allegations contained in paragraphs 4, 21, 67, 76, 81

                         and 91 of Plaintiff’s Second Amended Complaint in the same manner and to the same

                         extent as previously admitted or denied herein.

                                6.     Denies each and every other allegation not previously admitted or denied

                         herein.

                                                              SECOND DEFENSE

                                7.     Plaintiff’s Second Amended Complaint in whole or in part fails to state a

                         claim against this Defendant upon which relief can be granted.

                                                              THIRD DEFENSE

                                8.     Plaintiff’s Second Amended Complaint fails to state a claim against this

                         Defendant upon which relief can be granted in that it fails to comply with the mandatory

                         pleading requirements contained in Civil Rule 10.

                                                              FOURTH DEFENSE

                                9.     Plaintiff’s Second Amended Complaint is barred in whole or part by the

                         applicable statutes of limitation.

                                                               FIFTH DEFENSE
LAW OFFICES OF
______________________          10.    Plaintiff’s injuries and damages, if any, which injuries and damages are
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______________________   specifically denied, were caused by third persons, parties, or entities over which this
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                         Defendant had and could have had no control, including but not limited to, those
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                         person(s) or entity(ies) from whom Plaintiff seeks recovery in this action and/or those

                         person(s) or entity(ies) from whom Plaintiff does not seek recovery in this action

                         pursuant to Ohio Revised Code §§ 2307.22 and 2307.23.

                                                             SIXTH DEFENSE

                                11.    Plaintiff’s injuries and damages, if any, which injuries and damages are

                         specifically denied, were caused or contributed to by Plaintiff’s own negligence in an

                         amount greater than the negligence of this Defendant, if any, which negligence is

                         specifically denied.

                                                           SEVENTH DEFENSE

                                12.    This Defendant is entitled to a set-off of damages and/or limitation of

                         damages pursuant to statute and/or the Ohio Revised Code.

                                                            EIGHTH DEFENSE

                                13.    Plaintiff has failed to join indispensable parties to this action.

                                                             NINTH DEFENSE

                                14.    Plaintiff assumed the risks of the injuries and damages complained of, if

                         any, which injuries and damages are specifically denied.

                                                             TENTH DEFENSE

                                15.    Plaintiff has failed to mitigate damages.

                                                          ELEVENTH DEFENSE

                                16.    This Defendant enjoys qualified immunity under federal law.

                                                           TWELFTH DEFENSE
LAW OFFICES OF
______________________          17.    This Defendant enjoys state law immunity under Ohio Revised Code
ARNOLD TODARO
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______________________   Chapter 2744.
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                                                              THIRTEENTH DEFENSE

                                18.    Any and all claims for damages are limited under Ohio Revised Code

                         § 2744.05.

                                                             FOURTEENTH DEFENSE

                                19.     Any recovery by the Plaintiff, which is denied, is subject to the provisions

                         and limitations of Chapter 2315 of the Ohio Revised Code.

                                                               FIFTEENTH DEFENSE

                                20.    This Defendant acted reasonably, in good faith, and did not violate clearly

                         established law.

                                                               SIXTEENTH DEFENSE

                                21.    At no time material hereto did this Defendant act with deliberate

                         indifference to any federally protected rights of the Plaintiff.

                                                             SEVENTEENTH DEFENSE

                                22.    Plaintiff’s claims are barred by an intervening and superseding cause.

                                                         EIGHTEENTH -SIXTH DEFENSE

                                23.    At all times, this Defendant acted reasonably, lawfully and in good faith.

                         If, in fact, this Defendant performed any wrongful acts, which are specifically denied

                         herein, such acts were not performed knowingly, purposely, with malicious purpose, in

                         bad faith, intentionally, recklessly, willfully or wantonly.

                                                              NINETEENTH DEFENSE

                                24.    This Court lacks jurisdiction in the within action.
LAW OFFICES OF
______________________          WHEREFORE, having fully answered, this Defendant respectfully requests that
ARNOLD TODARO
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______________________   Plaintiff’s Complaint be dismissed with prejudice, costs to Plaintiff.
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                                                    Respectfully submitted,



                                                    /s/ John B. Welch
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                                                    Counsel for Defendant Brian R. Williams, M.D.
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                                                      JURY DEMAND

                         This Defendant demands trial by jury of the within action.


                                                    /s/ John B. Welch
                                                    John B. Welch




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                                                         CERTIFICATE OF SERVICE

                                I hereby certify that on the 20th day of January, 2023, I electronically filed the

                         foregoing with the Clerk of the Court using the ECF/eFiling system which will send

                         notification of such filing to the following:

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                           The Board of Commissioners of Crawford
                           County, Ohio/Crawford County, Ohio,
                           Sergeant Tyson Estrada, Deputy Brandon M.
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                           Daniel J. Williamson and Administrator Kent
                           Rachel

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                         Counsel for Defendant Michael P. Davis, MD


                                                       /s/ John B. Welch
                                                       John B. Welch




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